                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                    CIVIL CASE NO. 1:12-cv-00123-MR
                [CRIMINAL CASE NO. 1:09-cr-00013-MR-3]


DENNIS LAMAR BRUTON,            )
                                )
         Petitioner,            )
                                )
         vs.                    )                      ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
         Respondent.            )
_______________________________ )


        THIS MATTER comes before the Court upon the Petitioner’s “Reply to

the District Court Order Dismissing Rule 60(b)(6) Motion” [Doc. 27], which

the Court construes as a motion for reconsideration.

        Upon review of the Petitioner’s motion, the Court finds no basis in law

to reconsider th/e prior Order dismissing the Petitioner’s Rule 60(b)(6)

motion as an unauthorized, successive motion to vacate under 28 U.S.C. §

2255.

        IT IS, THEREFORE, ORDERED that the Petitioner’s “Reply to the

District Court Order Dismissing Rule 60(b)(6) Motion” [Doc. 27], which the

Court construes as a motion for reconsideration, is DENIED.




   Case 1:09-cr-00013-MR-WCM      Document 906    Filed 01/22/18   Page 1 of 2
      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

      IT IS SO ORDERED.
                               Signed: January 22, 2018




                                       2



   Case 1:09-cr-00013-MR-WCM   Document 906          Filed 01/22/18   Page 2 of 2
